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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

SOLID 21, INC.,                       :
     Plaintiff,                       :
                                      : C.A. NO. 3:19-CV-00514-MPS
v.                                    :
                                      :
BREITLING U.S.A., INC.; BREITLING SA; :
AND BREITLING AG,                     : March 9, 2022
     Defendants.                      :
                                      :

      DEFENDANTS AND COUNTERCLAIMANTS BREITLING U.S.A., INC.
  AND BREITLING SA’S (A/K/A BREITLING AG) REPLY IN SUPPORT OF THEIR
              MOTION FOR ATTORNEYS’ FEES AND COSTS
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        Defendants and counterclaimants Breitling U.S.A., Inc. and Breitling SA (a/k/a Breitling AG)

(collectively, “Breitling”) file this Reply in Support of their Motion for Fees and Costs (“Motion”)

(ECF No. 220), under Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a), Fed. R. of Civ. P. 54,

and Local Rule 54, for an award of prevailing party reasonable attorneys’ fees and expenses it incurred

in connection with its successful defense in this action, and would respectfully show the Court as

follows:

        Plaintiff Solid 21, Inc. (“Plaintiff” or “Solid 21”) conflates the standard for exceptionality with

sanctionable conduct, apparently urging the Court that because no sanctions were granted in this case,

then the case is not exceptional. But this position was expressly rejected by the Supreme Court as

improperly inflexible and inconsistent with the statutory language of the Lanham Act. Octane Fitness,

LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 555 (2014) (“sanctionable conduct is not the

appropriate benchmark.”). The standard requires far less: a district court may award fees where “a

party’s unreasonable conduct—while not necessarily independently sanctionable—is nonetheless so

‘exceptional’ as to justify an award of fees.” Id. at 555 (citing Noxell Corp. v. Firehouse No. 1 Bar-B-

Que Rest., 771 F.2d 521, 526 (D.C. Cir. 1985) (“[W]e think it fair to assume that Congress did not

intend rigidly to limit recovery of fees by a [Lanham Act] defendant to the rare case in which a court

finds that the plaintiff ‘acted in bad faith, vexatiously, wantonly, or for oppressive reasons’....

Something less than ‘bad faith,’ we believe, suffices to mark a case as ‘exceptional’”)). The law allows

the award of fees to a prevailing party in an “exceptional” case—defined “simply [as] one that stands

out from others with respect to the substantive strength of a party’s litigating position (considering both

the governing law and the facts of the case) or the unreasonable manner in which the case was

litigated.” Octane Fitness, LLC, 572 U.S. at 554. And, to be sure, even if the case has underlying

merit but is pursued in a “meritless or improper manner,” attorneys’ fees are appropriate. Nat’l Ass’n

of Prof’l Baseball Leagues, Inc. v. Very Minor Leagues, Inc., 223 F.3d 1143, 1149 (10th Cir. 2000).

        Plaintiff posits that an award of fees and costs to Breitling would be a windfall, but in reality,

allowing Breitling to recoup its fees and costs incurred in defending against this suit serves the

objectives of the Lanham Act’s fee-shifting provision, including compensation and deterrence of


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years’ long litigation notwithstanding Breitling’s case of fair use that Plaintiff has been on notice of

since it first sued Breitling in 2011. Plaintiff touts its well-documented history of suing nearly all of

the major brands in the watch industry over the generic and descriptive term “red gold,” with most

settling before trial. Breitling had the mettle to defend its position on the merits and prevail—

particularly when Plaintiff tanked any chances of reasonable settlement when it intentionally caused

to be published an offending article about Breitling right before a settlement conference was to be

scheduled—and the circumstances of this litigation make this case exceptional, warranting an award

of fees and costs to Breitling.

I.      LEGAL ARGUMENT

        A.      Breitling Has Shown its Entitlement to Fees and Costs.

        Section 35(a) of the Lanham Act provides that “[t]he court in exceptional cases may award

reasonable attorney fees to the prevailing party.” 15 U.S.C. § 1117(a). Under Section 35(a), an

“exceptional case is simply one that stands out from others with respect to the substantive strength of

a party’s litigating position (considering both the governing law and the facts of the case) or the

unreasonable manner in which the case was litigated.” Sleepy’s LLC v. Select Comfort Wholesale

Corp., 909 F.3d 519, 530 (2d Cir. 2018) (quoting Octane Fitness, LLC, 572 U.S. at 554. Here, Plaintiff

misstates the applicable evidentiary standard, claiming that “clear and convincing evidence” is required

for an award of fees under the Lanham Act. Opposition at 4 (citing E. Coast Sheet Metal Fabricating

Corp. v. Autodesk, Inc., No. 12-CV-517-LM, 2015 WL 4603463, at *5 (D.N.H. July 30, 2015)).

Rather, the correct “exceptional” standard “demands a simple discretionary inquiry; it imposes no

specific evidentiary burden.” Octane Fitness, 572 U.S. at 557.

        When evaluating whether a case is “exceptional,” district courts have “wide latitude” to

“engage in a ‘case-by-case exercise of their discretion, considering the totality of the circumstances.’”

4 Pillar Dynasty LLC v. New York & Co., Inc., 933 F.3d 202, 215 (2d Cir. 2019) (citing Octane Fitness,


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572 U.S. at 554). The exceptionality analysis examines “‘frivolousness, motivation, objective

unreasonableness (both in the factual and legal components of the case) and the need in particular

circumstances to advance considerations of compensation and deterrence.’” 4 Pillar Dynasty LLC,

933 F.3d at 215 (citing Octane Fitness, 572 U.S. at 554 n.6). An award of fees and costs to prevailing

defendants “is necessary to compensate . . . for the resources expended in defending . . . [the] action”

and “to deter plaintiff and others from pursuing similarly frivolous claims going forward.” Beijing

Daddy’s Choice Sci. & Tech. Co. v. Pinduoduo Inc., No. 18 CIV. 6504 (NRB), 2020 WL 729518, at

*5 (S.D.N.Y. Feb. 13, 2020) (citing Manhattan Review LLC v. Yun, No. 16 Civ. 0102 (LAK) (JCF),

2017 WL 11455317, at *4, 7 (S.D.N.Y. Sept. 21, 2017) (even where “the merits of the ... Lanham Act

claims have not been addressed ... the goals of compensation and deterrence are furthered by

compensating the defendants for litigating against claims that should not have been brought in the first

place”)), aff’d, 919 F.3d 149 (2d Cir. 2019), aff’d, 765 F. App’x 574 (2d Cir. 2019).

        Breitling has shown that Plaintiff’s litigation conduct and positions were objectively

unreasonable and justify an award of fees, even if Plaintiff’s tactics were not sanctionable, which is not

the standard in any event.

        B.      Plaintiff Has Known of Breitling’s Non-Actionable Fair Use of the Term “Red
                Gold” Since 2011.

        In addition to maintaining that the term “red gold” is and has always been generic in the watch

industry for a gold and copper metal alloy—a position confirmed by the Federation of the Swiss Watch

Industry, whose membership includes famous watchmaker brands Rolex, Omega, Cartier, Longines,

Baume & Mercier, Gucci, Movado, Audemars Piguet, Tag Heuer, and Patek Philippe—Breitling has

always maintained fair use of the term. See ECF No. 117-4, Exhibit 2 to Whitelock Decl. (amicus

curiae brief of Federation of the Swiss Watch Industry in support of watchmaker Hublot, et al.).

        Indeed, in 2011, when Plaintiff first sued Breitling along with several other well-known watch

brands in the U.S. District Court for the Central District of California, Breitling moved to dismiss on

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grounds including that Plaintiff’s claims were non-actionable fair use. See Solid 21, Inc. v. Breitling

USA Inc., No. CV 11-0457 GAF PLAX, 2011 WL 2938209, at *6 (C.D. Cal. July 19, 2011) (the

“California Action”), rev’d, 512 F. App’x 685 (9th Cir. 2013). The district court in this earlier case

granted Breitling’s motion to dismiss on the grounds that the “red gold” mark was generic, but the

Ninth Circuit reversed, holding that such a determination could not be made at the pleadings stage.

Similarly, the Ninth Circuit in Solid 21, Inc. v. Hublot of Am., 685 F. App’x 530, 531 (9th Cir. 2017)

reversed the district court’s holding on the issue of genericness but never reached the issue of fair use,

which was not raised in that case. Thus, in neither of these prior cases did the district courts or the

Ninth Circuit ever reach the issue of fair use, so it is misleading for Plaintiff to cite them for the

proposition that its litigation positions and claims as to fair use were validated there. They were not.

        In this case, Plaintiff could proffer no evidence that Breitling ever knew of Plaintiff before it

filed suit in 2011 and before Breitling first started using the term “red gold” to identify and describe

the gold copper alloy used in Breitling watches. Plaintiff persisted in disputing that red gold is a metal

alloy until it lost on summary judgment and completely reversed position, conceding that “red gold”

is a metal material and that Breitling was allegedly describing products made of red gold when they

were not. ECF No. 210, Plaintiff’s Response to Court Order Re: Fair Use, at 3 (“Breitling advertises

their watches as ‘Red Gold’ even though they are actually made of ‘Rose Gold.’”). Plaintiff’s about-

face resulted not only from Plaintiff’s attempt to manufacture an unpled and unsupported claim for

false advertising in order to survive summary judgment, but it was also necessarily compelled by the

truth of the centuries’ old meaning of this term as an alloy, as shown by Breitling’s historical evidence

that Plaintiff did not meaningfully dispute. See, e.g., ECF No. 123-1, Plaintiff’s Statement in

Opposition to Defendants’ Statement of Facts, at pp. 4-8, Defendants’ Statement No. 7 and Plaintiff’s

Response to Statement No. 7; see also id. at p. 13, Defendants’ Statement No. 22 (“Plaintiff

unequivocally acknowledged that it used ‘Red Gold’ to identify an ‘amber hue gold alloy’ when it sued


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13 defendants for trademark infringement in its first lawsuit in 2010, referring to ‘Red Gold’ as a ‘metal

alloy gold derivative with an amber hue.’”), Plaintiff’s Response to Statement No. 22 (“Undisputed.”).

        On the record before this Court, it was objectively unreasonable for Plaintiff to decry the fact

that “red gold” is a metal alloy in light of the evidence that Plaintiff did not and could not effectively

dispute, only to later concede this definition after summary judgment and after causing Breitling to

litigate the issue at substantial effort and expense. See, e.g., Beijing Daddy’s Choice Sci. & Tech. Co.,

2020 WL 729518 at *4 (granting fees to a defendant under the Lanham Act and finding objective

unreasonableness in plaintiff’s litigation position, and stating “[w]here, as here, information becomes

known to a plaintiff that reveals the implausibility of allegations pled ‘on information and belief,’ any

decision not to disclose that information is, at best, highly misleading.”).

        C.      The Magistrate’s Discovery and Sanctions Motions Orders Did Not Validate
                Plaintiff’s Conduct.

        Plaintiff contends that the Court already addressed the character of its conduct in litigation, first

in its discovery ruling on April 27, 2021 (ECF No. 155) (the “Discovery Ruling”), and then in its

written order of July 27, 2021 (ECF No. 186) on Breitling’s Motion for Sanctions. But the portion of

the Discovery Ruling cited by Plaintiff was part of the Court’s consideration of whether to allow

Plaintiff to obtain and compel further discovery on a motion brought after the discovery deadline had

already passed, incredibly long after the discovery objections and responses at issue were served, and

concluded nothing about the propriety of its conduct. See Discovery Ruling, at 18:25-20:17 (“And

now what is before me is a motion essentially to compel compliance with Request for Production No.

1 that the Plaintiff served in this case on August 20th of 2019.”).

        Throughout this litigation, Plaintiff has sensationalized the Discovery Ruling by taking it

grossly out of context, precipitating Defendants’ sanctions motion and torpedoing any potential

settlement discussions between the parties, as Magistrate Judge Vatti himself observed during the

hearing on Breitling’s Motion for Sanctions. See Transcript of Hearing on Motions for Sanctions, ECF

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No. 184, at 7 (Magistrate Judge Vatti: “I will agree that shortly after we have [sic] a telephonic status

conference where I suggest that the parties take a crack at settlement and everybody agreed to do that,

and the case was referred to Judge Richardson for the purpose of scheduling a settlement conference,

it probably was not a very good idea to provide any information for purposes of the press release that

essentially poked Breitling in the eye. It may very well have poisoned the well for settlement, which it

looks like it did.”); 10 (Judge Vatti: “I see your [Defendants’] point that parts of that transcript [of the

Discovery Ruling] were taken by the author of this article, and there’s a lot of missing context to

comments that I made. Obviously, I did not make any finding that Breitling attempted to hide

information.”) (emphasis added).

          In any event, despite a firm basis to object to the Discovery Ruling, Breitling complied,

producing largely irrelevant daily sales and inventory lists and in-store customer traffic reports

spanning a fourteen year period as ordered. ECF No. 153; Pangan Decl., ECF No. 212-1, ¶ 3. Indeed,

Plaintiff used virtually none of this supplemental production, other than three lines selectively

excerpted, again out-of-context and mischaracterized, from two large spreadsheets produced, in

support of its own motion for reconsideration, which the Court denied. Plaintiff’s Motion for

Reconsideration, Exhibits 3-5, ECF No. 206, 206-4 to 206-6; Order Denying Plaintiff’s Motion for

Reconsideration, ECF No. 216. In other words, Plaintiff pressed for and subjected Breitling to

substantial effort and expense to produce supplemental documents, which had no utility in the parties’

summary judgment motions – or this case generally. Plaintiff cannot now complain about Breitling’s

request for recovery of its fees and costs associated with producing such documents at Plaintiff’s

urging.

          Moreover, Plaintiff does not meaningfully address its own failure for months to respond to

Breitling’s requests for depositions or otherwise participate in discovery, or why Plaintiff took months

to secure current counsel’s representation in this matter, after Pierce Bainbridge moved to withdraw


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and Plaintiff represented to the Court that it was in the process of obtaining counsel. ECF No. 91, 91-

1 at ¶ 8; see also ECF No. 93. The result of Plaintiff’s conduct was delay and Breitling’s incurrence

of additional effort simply to get Plaintiff to respond and comply with its discovery obligations. See

id. (“[g]iven the number of extensions of the scheduling order the Court has already permitted in this

case, it is not inclined to further delay resolution of the case . . .”).

        D.       The Court’s Ruling Granting Breitling’s Motion for Summary Judgment on
                 Fair Use Was Not a Close Call.

        In granting Breitling’s Motion for Summary Judgment upon reconsideration, the Court

acknowledged that it had “overlooked both applicable law and portions of the summary judgment

record in determining that there were genuine disputes of material fact as to fair use in my September

27, 2021 summary judgment ruling; on reconsideration, I found that there were not and granted

Breitling summary judgment.” See ECF No. 216 (citing ECF No. 204). In ultimately granting

summary judgment to Breitling, the Court noted that Plaintiff had proffered no evidence that Breitling

sought to “exploit” Plaintiff’s alleged good will or “cachet,” or otherwise cause confusion as to the

source or origin of Breitling’s products. ECF No. 216 at 5-7. The Court’s conclusion was based on

Plaintiff’s utter lack of evidence to the contrary. See id. In so ruling, it was not lost on the Court that

Plaintiff was (again) taking a wholly contradictory litigation position than it had before: in opposing

Breitling’s fair use arguments, Plaintiff forcefully argued that Breitling could have used “rose gold”

instead of “red gold” to identify and describe that alloy used in its watches, but when the Court granted

summary judgment to Breitling on fair use, Plaintiff contended that the two terms were not

interchangeable. ECF No. 216 at 8: (The Court: “[S]olid 21’s argument that Breitling’s use of ‘red

gold’ is ‘descriptively misleading,’ ECF No. 209 at 15, because it is allegedly using the term to describe

its ‘rose gold products’ contradicts the position Solid 21 took earlier in the case that the two terms were

synonymous.”) (citing Plaintiff’s Opposition to Breitling’s Motion for Summary Judgment, ECF No.



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123 at 32–33, 37); see also ECF No. 123 at 28 (Plaintiff stating that it is a “fact that ‘red gold’ is not a

‘material . . .’”).

         Contrary to Plaintiff’s assertions, it is Breitling who faced with a Hobson’s Choice as to

whether it could use “rose gold” or “red gold” without spurring a meritless trademark claim by Plaintiff.

Under Plaintiff’s theory, use of either term by Breitling was a trademark violation, resulting in a “tails,

I win” and “heads, you lose” proposition. This was an objectively unreasonable—and disingenuous—

position for Plaintiff to take.

         Plaintiff’s reliance on Zuppardi’s Apizza, Inc. v. Tony Zuppardi’s Apizza, LLC, No. 3:10-CV-

01363 RNC, 2014 WL 4841085, at *13 (D. Conn. Sept. 29, 2014), for the proposition that the present

case is a close one is inapposite. In Zuppardi’s Apizza, the dispute centered on the parties’ use of the

same term as a trademark, and the Court denied summary judgment as to certain claims and issues,

which remained for trial due to competing evidence. See id. In contrast, here, the Court has granted

summary judgment as to all claims in favor of Breitling, precisely because Breitling’s use of the term

“red gold” is not as a mark, but rather fair use, and Plaintiff has not proffered any evidence that comes

close to creating a triable issue, much less altering the Court’s conclusion.

         Finally, Plaintiff’s argument that this case was not the “paradigmatic example” of a case where

a “plaintiff brings dubious claims in order to extract a nuisance settlement,” (Opposition at 10) ignores

the undisputed fact that Plaintiff is in fact a serial litigant, having sued numerous famous watch brands

over the same claims for the past decade. See, e.g., ECF No. 107-39 (Plaintiff’s Complaint filed in

U.S. District Court, Central District of California); Solid 21, Inc. v. Richemont N. Am., Inc., No. 19

CIV. 1262 (LGS), 2020 WL 3050970, at *1 (S.D.N.Y. June 8, 2020) (trademark case over the term

“red gold”); Solid 21, Inc. v. Chopard USA Ltd., No. 19-CV-3089, 2020 WL 529213 (S.D.N.Y. Feb.

3, 2020) (same); Solid 21, Inc. v. Movado Retail Grp., Inc., No. 19-CV-8093, 2020 U.S. Dist. LEXIS

3903 (D.N.J. Jan. 8, 2020) (same); Solid 21, Inc. v. Ulysse Nardin, USA Inc., No. 19-CV-80474, 2019


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WL 7933684 (S.D. Fla. Dec. 12, 2019) (same). And, Plaintiff fails to address its trademark dilution

claims, which it simply abandoned and did not even bother opposing Breitling’s summary judgment

motion on the grounds that Plaintiff could not make the requisite showing of fame. See ECF No. 191

at 26-27; ECF No. 107-1 at 23-26. Plaintiff’s inaction concedes that its dilution claim was categorically

meritless.

        E.      Breitling’s Fees Are Reasonable.

        Plaintiff’s objection to the redaction of Breitling’s attorney’s fees invoices overlooks that

Breitling has offered to make the invoices available for in-camera review by the Court. Plaintiff also

complains about the rates charged, but fails to address the many cases cited by Breitling where courts

found similar fees to be usual and customary. See Motion for Fees, ECF No. 220-1 at 22-23. Plaintiff’s

reliance on an excerpt from an AIPLA survey of litigation fees and costs in contesting the

reasonableness of the total amount of fees and costs incurred by Breitling is improper because the

survey excerpt provides no context as to the number of claims asserted in those surveyed cases, the

number of parties, the extent of discovery, or the number of motions involved. AIPLA Survey Excerpt,

Hecht Decl., Ex. 1, ECF No. 223-2. In this case, there were two motions for summary judgment; two

motions for reconsideration; disputes over whether attorneys should be allowed to withdraw, sanctions,

and discovery; over 500,000 pages of documents produced; and fifteen depositions. See Motion for

Fees, ECF No. 220-1 at 22. Notably, the very same survey cited by Plaintiff cites data only up to 2020,

which was an unprecedented year with the pandemic, many business closures, and litigation

postponements and deferrals. See generally ECF No. 223-2. That very same survey, however, lists a

median litigation fees and costs total of $1.6 million for 2018, for litigation up to dispositive motions

but before trial and appeal. ECF No. 223-2, at ECF pagination 18. In any event, the survey lists median

amounts for various intellectual property litigation, and by definition, there are and will be cases where

the fees exceed the median amounts reported.


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        Plaintiff also does not address Breitling’s cited case law that holds that “negotiation and

payment of fees by sophisticated clients are solid evidence of their reasonableness in the market.”

Bleecker Charles Co. v. 350 Bleecker St. Apartment Corp., 212 F. Supp. 2d 226, 230 (S.D.N.Y. 2002);

see also Robinson v. Lopez, 2003 WL 23162906, at *3 (C.D. Cal. Nov. 24, 2003) (“The actual billing

arrangement provides a strong indication of what private parties believe a ‘reasonable’ fee would be”)

(citation omitted).

        F.      Breitling Is Entitled to Recover Its Costs Under the Lanham Act.

        Plaintiff’s assertion that Breitling’s bill of costs is premature ignores that Breitling’s request

for costs was made under the Lanham Act, in addition to Rule 54 of the Federal Rules of Civil

Procedure. As noted in Breitling’s moving papers, “[t]he Lanham Act also provides for the award of

costs in all cases.” Tri-Star Pictures, Inc. v. Unger, 42 F. Supp. 2d 296, 306 (S.D.N.Y. 1999) (citing

15 U.S.C. 1117(a)); Yankee Candle Co. v. Bridgewater Candle Co., LLC, 140 F. Supp. 2d 111, 126

(D. Mass.), aff’d, 259 F.3d 25 (1st Cir. 2001) (awarding costs under Section 1117(a) to prevailing

defendant). “[R]outine costs awarded to prevailing parties in trademark and copyright infringement

actions” include:

        [F]iling fees; … fees for service of the summons and complaint and a subpoena; …
        fees for court reporters and transcripts; … copying fees; … legal research fees; …
        travel expenses; [the costs of] a certificate of good standing; [the costs of a] pro hac
        vice admission; and… postage.

GAKM Res. LLC v. Jaylyn Sales Inc., No. 08 CIV. 6030 (GEL), 2009 WL 2150891, at *10 (S.D.N.Y.

July 20, 2009) (citations omitted). These awardable costs also include e-discovery hosting and

processing fees. Motion for Fees, ECF No. 220-1 at 24-25. As such, Breitling’s request for these costs

are entirely proper and consistent with allowable costs under the law.

II.     CONCLUSION

        Based on the foregoing, Breitling respectfully requests an award of reasonable fees and costs

in this case, which is exceptional for the reasons outlined in the moving papers and herein.

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                                                                 Respectfully submitted,

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                                                                  By /s/ Craig J. Mariam
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                                                  CERTIFICATION OF SERVICE

                         I hereby certify that on March 9, 2022, the foregoing was filed electronically and served

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                                                                  By /s/ Craig J. Mariam
                                                                         Craig J. Mariam


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